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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

FINNAVATIONS LLC,

               Plaintiff,
                                                              C.A. No. 1:18-cv-00444-RGA
       v.

PAYONEER INC.,

               Defendant.



                       DECLARATION OF JEREMY D. ANDERSON

I, Jeremy D. Anderson, declare as follows:

       1.      I am over the age of 21 and fully competent to make this declaration. I have personal

knowledge of the facts stated herein and they are all true and correct.

       2.      I am a Principal Attorney with the law firm of Fish & Richardson P.C. My firm and

I acted as counsel for Defendant Payoneer Inc. since the inception of this lawsuit. It is in that

capacity that I have obtained knowledge of the facts described herein.

       3.      I graduated with a J.D. from Georgetown University Law Center in 2002. I have

worked for Fish & Richardson P.C.’s Delaware office since 2012, practicing patent litigation as

well as corporate and complex commercial litigation. My practice at Fish & Richardson has

involved representing both patent holders and companies accused of infringement. In 2018, I was

recognized by Docket Navigator as one of the top lawyers in the nation by the number of cases in

which I have represented companies accused of infringement. A true and correct copy of the

Docket Navigator report is attached hereto as Exhibit 3.

       4.      Through my practice and experience, I am familiar with the normal and customary

fees charged for legal services in the District of Delaware considering the time expended, the

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amount in controversy, the complexity of the case, the experience, reputation, ability, and billing

rates of the attorneys and staff involved, the expertise involved and the other criteria upon which

fees are based according to the Delaware Lawyers’ Rules of Professional Conduct. I am also aware

of the various court opinions issued by the United States District Court for the District of Delaware,

the United States Court of Appeals for the Federal Circuit, and other state courts governing the

award of fees in cases such as this. I am knowledgeable of the fees and work required to litigate a

case such as this.

       5.      Under its fee arrangement with Payoneer in this case, Fish & Richardson P.C.

charged its usual and customary fixed hourly rates. Payoneer incurred $99,727.00 in attorneys’

fees. A true and correct summary spreadsheet showing the total amount of attorneys’ fees billed

to Payoneer in this matter is attached hereto as Exhibit 1.

       6.      Attached as Exhibit 4 are biographies of the attorneys who billed time on this case.

       7.      In my opinion, the fees described herein were, are, and will be reasonably and

necessarily incurred in defending this case. I believe that the total amount of fees is extremely

reasonable for a case of this nature considering all of the legal issues and briefing that was required.

The fees are also appropriate for the skill level of the attorneys involved, the complexity of the

case, and the normal and customary fees charged for patent litigation in the District of Delaware.

       8.      In my opinion, the fees incurred while defending this case are reasonable in light

of the typical national rates and fees incurred in defending patent litigation. Attached as Exhibit 2

is a true and correct excerpt of the 2011 economic survey of the American Intellectual Property

Law Association (AIPLA). It shows that the mean litigation costs for defending patent litigation

on the East Coast in 2011 for one defendant were $2.316 million (for $1 to $25 million in dispute).




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FURTHER DECLARANT SAYETH NOT.

       I declare, under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct.

Executed this 10th day of December, 2018.



                                            /s/ Jeremy D. Anderson
                                            Jeremy D. Anderson (DE # 4515)




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